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 6
 7                      IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )
                                   )            CR. No. S-07-059-LKK
11                  Plaintiff,     )
                                   )
12             v.                  )
                                   )            ORDER RE STATUS CONFERENCE
13   VAN HUNG VI, et al.           )
                                   )
14                  Defendant.     )
     ______________________________)
15
16         The captioned action came before the court on April 15, 2008.
17   There are a number of pending motions before the court and the
18   parties set a schedule for additional briefing on the motions with
19   another non-evidentiary hearing to occur on June 10, 2008.
20   Following the hearing, the parties agreed to make a concerted effort
21   to resolve the case prior to any additional briefing on the matter.
22   Only counsel for Van Hy Vi has filed an additional brief.
23         On May 29, 2008, Van Hung Vi retained Johnny L. Griffin III to
24   represent him in this matter, substituting and replacing Douglas
25   Horngrad as counsel of record for Van Hung Vi.
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 1        Accordingly, the non-evidentiary hearing date set for June 10,
 2   2008 will be converted to a status conference date so that further
 3   proceedings may be scheduled in light of new counsel in the case.
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     DATE: June 5, 2008
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